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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

JAMES L. GILES,                                :
                                               :
      Plaintiff,                               :
                                               :   CIVIL ACTION FILE
v.                                             :
                                               :   NO. 1:09-CV-1707-GET-RGV
COLLECTCORP CORPORATION,                       :
                                               :
      Defendant.                               :
                                               :

             STIPULATION OF DISMISSAL WITH PREJUDICE

      COMES NOW PLAINTIFF, pursuant to Rule 41(a)(1) of the Federal Rules

of Civil Procedure, and before the service of an answer or a motion for summary

judgment, and stipulates that this action shall be dismissed with prejudice to all

claims.

      Respectfully submitted.
                                       /S/ James M. Feagle
                                       James M. Feagle
                                       Georgia Bar No. 256916
                                       Kris Skaar
                                       Georgia Bar No. 649610

                                       SKAAR & FEAGLE, LLP
                                       108 East Ponce de Leon Avenue
                                       Suite 204

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